                   Case 16-51200                     Doc 53             Filed 06/14/19 Entered 06/14/19 02:14:12                                                 Desc Main
                                                                         Document     Page 1 of 22

 Fill in this information to identify your case:

 Debtor 1                   Charles William Reynolds
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF VIRGINIA

 Case number           16-51200
 (if known)
                                                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $             174,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $              19,936.31

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $             193,936.31

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $             233,201.59

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $              31,217.92


                                                                                                                                     Your total liabilities $                264,419.51


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $                1,628.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                 Desc Main
                                                                      Document     Page 2 of 22
 Debtor 1      Charles William Reynolds                                                   Case number (if known) 16-51200

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       9,714.54


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                   Case 16-51200                 Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                          Desc Main
                                                                      Document     Page 3 of 22

 Fill in this information to identify your case:

 Debtor 1                 Charles William Reynolds
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF VIRGINIA

 Case number           16-51200
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2002 Ford F250 Super Crew 55000                                  $8,204.00                                 $6,000.00     Va. Code Ann. § 34-26(8)
      miles
      Location: 1561 Carpers Pike, Gore                                                    100% of fair market value, up to
      VA 22637                                                                             any applicable statutory limit
      Line from Schedule A/B: 3.1

      2002 Ford F250 Super Crew 55000                                  $8,204.00                                 $2,204.00     Va. Code Ann. § 34-4
      miles
      Location: 1561 Carpers Pike, Gore                                                    100% of fair market value, up to
      VA 22637                                                                             any applicable statutory limit
      Line from Schedule A/B: 3.1

      2006 Snowbear Trailer                                               $300.00                                  $300.00     Va. Code Ann. § 34-4
      Location: 1561 Carpers Pike, Gore
      VA 22637                                                                             100% of fair market value, up to
      Line from Schedule A/B: 3.3                                                          any applicable statutory limit

      Bed, dresser, tools, sofa, chairs,                               $2,000.00                                 $2,000.00     Va. Code Ann. § 34-26(4a)
      rugs, lamps, wardrobes, desk, grill,
      bicycle, art, washer, dryer, cookware,                                               100% of fair market value, up to
      small appliances, groceries                                                          any applicable statutory limit
      Location: 1561 Carpers Pike, Gore
      VA 22637
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                 Case 16-51200                   Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                             Desc Main
                                                                      Document     Page 4 of 22
 Debtor 1    Charles William Reynolds                                                                    Case number (if known)     16-51200
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Computer, tv, game system, phone                                    $400.00                                   $400.00        Va. Code Ann. § 34-26(4a)
     Location: 1561 Carpers Pike, Gore
     VA 22637                                                                              100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     Springfield XD CAZ .45                                              $350.00                                   $350.00        Va. Code Ann. § 34-26(4b)
     Location: 1561 Carpers Pike, Gore
     VA 22637                                                                              100% of fair market value, up to
     Line from Schedule A/B: 10.1                                                          any applicable statutory limit

     Clothing                                                            $200.00                                   $200.00        Va. Code Ann. § 34-26(4)
     Location: 1561 Carpers Pike, Gore
     VA 22637                                                                              100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     Checking: Bank of Clarke County                                      $27.31                                    $27.31        Va. Code Ann. § 34-4
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal: 2016 Prorated                                                 $1.00                                     $1.00       Va. Code Ann. § 34-4
     Line from Schedule A/B: 28.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     State: 2016 Prorated                                                   $1.00                                     $1.00       Va. Code Ann. § 34-4
     Line from Schedule A/B: 28.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                   Case 16-51200                  Doc 53             Filed 06/14/19 Entered 06/14/19 02:14:12                                  Desc Main
                                                                      Document     Page 5 of 22

 Fill in this information to identify your case:

 Debtor 1                   Charles William Reynolds
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF VIRGINIA

 Case number           16-51200
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Capital One Auto                         Describe the property that secures the claim:                 $10,510.00                 $8,453.00           $2,057.00
         Creditor's Name                          2014 Nissan Versa 42000 miles
                                                  Location: 1561 Carpers Pike, Gore
                                                  VA 22637
                                                  As of the date you file, the claim is: Check all that
         PO Box 259407                            apply.
         Plano, TX 75025                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred          2014                      Last 4 digits of account number        3188




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                 Case 16-51200                    Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                Desc Main
                                                                       Document     Page 6 of 22

 Debtor 1 Charles William Reynolds                                                                            Case number (if known)   16-51200
               First Name                  Middle Name                      Last Name


         Wells Fargo Home
 2.2                                                Describe the property that secures the claim:                   $222,691.59           $174,000.00     $48,691.59
         Mortgage
         Creditor's Name                            1561 Carpers Pike Gore, VA 22637
                                                    Frederick County
         PO Box 10335
                                                    As of the date you file, the claim is: Check all that
         Des Moines, IA                             apply.
         50306-0335                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $233,201.59
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $233,201.59

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                    Case 16-51200                 Doc 53             Filed 06/14/19 Entered 06/14/19 02:14:12                                            Desc Main
                                                                      Document     Page 7 of 22

 Fill in this information to identify your case:

 Debtor 1                     Charles William Reynolds
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF VIRGINIA

 Case number           16-51200
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          IRS                                                    Last 4 digits of account number                                  $0.00               $0.00                 $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 1 of 9
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                  Case 16-51200                  Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                          Desc Main
                                                                      Document     Page 8 of 22
 Debtor 1 Charles William Reynolds                                                                         Case number (if known)            16-51200

 2.2        VA Dept of Taxation                                      Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Bankruptcy Unit                                          When was the debt incurred?
            PO Box 2156
            Richmond, VA 23218
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Notice


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Andrew Reynolds                                            Last 4 digits of account number                                                                    $2,000.00
            Nonpriority Creditor's Name
            1527 Carper's Pike                                         When was the debt incurred?
            Gore, VA 22637
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   General Living Expenses




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 9 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.2      Barclays Bank Delaware                                      Last 4 digits of account number       8481                                             $2,285.00
          Nonpriority Creditor's Name
          PO Box 8803                                                 When was the debt incurred?           2012
          Wilmington, DE 19899
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.3      Blosman Gas & Propane                                       Last 4 digits of account number       9048                                               $204.68
          Nonpriority Creditor's Name
          107 W Main St                                               When was the debt incurred?           2018
          Berryville, VA 22611
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   General Living Expenses


 4.4      Capital One                                                 Last 4 digits of account number       8367                                             $1,311.00
          Nonpriority Creditor's Name
          PO Box 30281                                                When was the debt incurred?           2012
          Salt Lake City, UT 84130
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 10 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.5      Clay Whitacre                                               Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          PO Box 25                                                   When was the debt incurred?
          Gore, VA 22637
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   General Living Expenses


 4.6      Comenity Bank - Gander Mountain                             Last 4 digits of account number       9041                                               $617.00
          Nonpriority Creditor's Name
          PO Box 182789                                               When was the debt incurred?           2015
          Columbus, OH 43218
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.7      Comenity Bank - Victoria's Secret                           Last 4 digits of account number       7815                                             $1,433.00
          Nonpriority Creditor's Name
          PO Box 182789                                               When was the debt incurred?           2013
          Columbus, OH 43218
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 11 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.8      Credit Acceptance Corp                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 5070                                                 When was the debt incurred?
          Southfield, MI 48086
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Notice


 4.9      Credit One Bank                                             Last 4 digits of account number       4131                                             $1,844.00
          Nonpriority Creditor's Name
          PO Box 98872                                                When was the debt incurred?           2012
          Las Vegas, NV 89193
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.1
 0        Credit One Bank                                             Last 4 digits of account number       8261                                               $636.00
          Nonpriority Creditor's Name
          PO Box 98872                                                When was the debt incurred?           2016
          Las Vegas, NV 89193
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 12 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.1
 1        IRS                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 7346                                                 When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Notice


 4.1
 2        Lending Club                                                Last 4 digits of account number       8969                                           $13,242.67
          Nonpriority Creditor's Name
          71 Stevenson St, Ste 300                                    When was the debt incurred?           2015
          San Francisco, CA 94105
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   General Living Expenses


 4.1
 3        One Advantage                                               Last 4 digits of account number       1049                                               $470.26
          Nonpriority Creditor's Name
          1232 W State Rd 2                                           When was the debt incurred?
          La Porte, IN 46350
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   General Living Expenses




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 13 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.1
 4        Specialized Loan Servicing                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8742 Lucent Blvd, Ste 300                                   When was the debt incurred?
          Littleton, CO 80129
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Notice


 4.1
 5        Synchrony - HH Gregg                                        Last 4 digits of account number       9407                                               $780.00
          Nonpriority Creditor's Name
          PO Box 965036                                               When was the debt incurred?           2016
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.1
 6        Synchrony Bank - Care Credit                                Last 4 digits of account number       3123                                               $846.00
          Nonpriority Creditor's Name
          PO Box 965036                                               When was the debt incurred?           2016
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 7 of 9
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                Case 16-51200                    Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                                     Desc Main
                                                                      Document     Page 14 of 22
 Debtor 1 Charles William Reynolds                                                                        Case number (if known)         16-51200

 4.1
 7         Synchrony Bank - Walmart                                   Last 4 digits of account number                                                          $548.31
           Nonpriority Creditor's Name
           PO Box 965024                                              When was the debt incurred?           2014
           El Paso, TX 79998
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.1
 8         VA Dept of Taxation                                        Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           Bankruptcy Unit                                            When was the debt incurred?
           PO Box 2156
           Richmond, VA 23218
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Notice

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 8 of 9
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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                       Desc Main
                                                                      Document     Page 15 of 22
 Debtor 1 Charles William Reynolds                                                                   Case number (if known)   16-51200
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              31,217.92

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              31,217.92




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 9
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                  Case 16-51200             Doc 53        Filed 06/14/19 Entered 06/14/19 02:14:12                               Desc Main
                                                           Document     Page 16 of 22



Fill in this information to identify your case:

Debtor 1                      Charles William Reynolds

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF VIRGINIA

Case number               16-51200                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
             Case 16-51200             Doc 53         Filed 06/14/19 Entered 06/14/19 02:14:12                                   Desc Main
                                                       Document     Page 17 of 22


Debtor 1   Charles William Reynolds                                                              Case number (if known)    16-51200


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $              N/A = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $            0.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor recently unemployed. Will be seeking Social Security disability.




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
             Case 16-51200                Doc 53          Filed 06/14/19 Entered 06/14/19 02:14:12                                    Desc Main
                                                           Document     Page 18 of 22



Fill in this information to identify your case:

Debtor 1                 Charles William Reynolds                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           16-51200
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                               700.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
           Case 16-51200                  Doc 53          Filed 06/14/19 Entered 06/14/19 02:14:12                                      Desc Main
                                                           Document     Page 19 of 22


Debtor 1     Charles William Reynolds                                                                  Case number (if known)      16-51200

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 180.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 123.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                  25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,628.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,628.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,628.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,628.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Home to be surrendered. Estimtated future rent listed.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                   Case 16-51200                 Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                      Desc Main
                                                                      Document     Page 20 of 22




 Fill in this information to identify your case:

 Debtor 1                    Charles William Reynolds
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF VIRGINIA

 Case number              16-51200
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Charles William Reynolds                                              X
              Charles William Reynolds                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date       June 14, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                   Case 16-51200                 Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                 Desc Main
                                                                      Document     Page 21 of 22


 Fill in this information to identify your case:

 Debtor 1                 Charles William Reynolds
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF VIRGINIA

 Case number           16-51200
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Capital One Auto                                      Surrender the property.                           No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a              Yes
    Description of       2014 Nissan Versa 42000 miles                       Reaffirmation Agreement.
    property             Location: 1561 Carpers Pike,                        Retain the property and [explain]:
    securing debt:       Gore VA 22637



    Creditor's         Wells Fargo Home Mortgage                             Surrender the property.                           No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a              Yes
    Description of       1561 Carpers Pike Gore, VA                          Reaffirmation Agreement.
    property             22637 Frederick County                              Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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               Case 16-51200                     Doc 53              Filed 06/14/19 Entered 06/14/19 02:14:12                       Desc Main
                                                                      Document     Page 22 of 22


 Debtor 1      Charles William Reynolds                                                              Case number (if known)   16-51200

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Charles William Reynolds                                                 X
       Charles William Reynolds                                                         Signature of Debtor 2
       Signature of Debtor 1

       Date        June 14, 2019                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2

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